Case 1:25-cv-01665-MJM   Document 1-5   Filed 05/23/25   Page 1 of 4




  EXHIBIT E
                    Case 1:25-cv-01665-MJM                     Document 1-5       Filed 05/23/25   Page 2 of 4



From:                                        Gayfield, Joshua J.
Sent:                                        Thursday, August 15, 2024 11:41 AM
To:                                          Lamonna Donna M
Subject:                                     RE: Fax


Good Morning Donna:

Thank you for your messages and the opportunity to provide further information in support of my clients’
positions. As you may know, while this particular examination has been ongoing for “only” 3.5 years, the IRS
scrutiny of Second Chance and its missions has been in motion for well over a decade. For reasons explained by
my colleague, Tom O’Rourke, in his February 15, 2021 correspondence, there is no legitimate basis for this newest
examination as Second Chance is not involved in promoting improper tax avoidance transactions and has been
fully compliant with all previously-issued and available IRS guidance, to the extent there is any at all. Over the
years, despite the extraordinary burden and expense of the IRS’s various investigations, Second Chance and Mr.
Foster have at all times been available to discuss this matter and have provided all information that has been
requested. None of the information provided to the IRS in this newest examination has demonstrated anything
contrary to our initial position. Indeed, Form 886A as prepared by Agent Bauer appears to, primarily, take issue
with the valuation methodology by a third-party materials appraiser utilized by some of Second Chance’s donors.
Nonetheless, it stretches disagreements about valuation methodologies into a conclusion that Second Chance
somehow knew that the third-party appraisals would lead to an “understatement of another person’s tax liability.”
Not only does this erroneous conclusion propose to make charities and their personnel the arbiters of valuation
methodologies employed by qualified third-party property appraisers, it does so without a single reference to
statutory or other authority demonstrating that, somehow the appraisal methodology employed was unlawful, or
that a charity whose donors rely on such methodology can be penalized for the same. On these thinnest of reeds,
the IRS proposes to assess penalties against one of the most respected and productive charities in the state of
Maryland, if not the East Coast.

On these facts, a neutral observer could conclude that the IRS continues to be laser-focused on accomplishing its
long-held and stated goal of “put[ting] a stake through the heart of Second Chance.” Unsurprisingly, after all these
years and costly investigations, my clients have little confidence that any further engagement in this examination
will result in anything other than additional cost and delay, which they can ill afford. More to the point, we are
confident that there is ample evidence before the IRS to permit it to close this investigation without any adverse
determination against my clients. Accordingly, we respectfully request that the IRS properly close its investigation;
should the IRS maintain its position, we ask that it issue any penalty assessment notice(s) as promptly as
possible.

I thank you again for your careful consideration of this matter. Please let me know if you have any questions.

Respectfully,

Josh Gayfield


Joshua J. Gayfield
Principal
100 Light Street | Baltimore, MD 21202
D: +1 410.385.3734 | O: +1 410.727.6464 | F: +1 410.773.9096



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                                                                                                                               Case 1:25-cv-01665-MJM   Document 1-5   Filed 05/23/25   Page 3 of 4



vCard | jgayfield@MilesStockbridge.com




From: Lamonna Donna M <Donna.M.Lamonna@irs.gov>
Sent: Tuesday, August 13, 2024 8:00 AM
To: Gayfield, Joshua J. <jgayfield@MilesStockbridge.com>
Cc: Lamonna Donna M <Donna.M.Lamonna@irs.gov>
Subject: [EXTERNAL] FW: Fax
[EXTERNAL ] Good Mor ning , Josh, I just read through your protest, and I need more detail ed information. I need you to giv




[EXTERNAL]

Good Morning, Josh,

I just read through your protest, and I need more detailed informa on. I need you to give me a list of the misstatements
of fact that you claim were made and also the misapplica ons of law, many of which you said were previously brought
to the IRS’s a en on in various prior proceedings. What/when were these proceedings? Please provide this
informa on on or before Friday August 16, 2024.

Thanks,
Donna


Donna Lamonna
Abusive Transactions Revenue Agent
2670 Industrial Highway
York, PA 17402
223-259-5340 (desk phone)
888-850-0320 (e-fax)




From: Lamonna Donna M
Sent: Tuesday, August 13, 2024 6:09 AM
To: Gayfield, Joshua J. <jgayfield@MilesStockbridge.com>
Subject: Fax

Good Morning, Josh,

I received the fax regarding the report I issued.

Thanks,
Donna

Donna Lamonna
                                                                                                                                                              2
          Case 1:25-cv-01665-MJM   Document 1-5   Filed 05/23/25   Page 4 of 4
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                                         3
